Case 2:18-cv-02217-SJO-FFM Document 16-2 Filed 03/27/18 Page 1 of 30 Page ID #:184



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     a.k.a. Stormy Daniels a.k.a. Peggy Peterson
 9

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11                            UNITED STATES DISTRICT COURT
12                        CENTRAL DISTRICT OF CALIFORNIA
13

14   STEPHANIE CLIFFORD a.k.a.                     CASE NO.: 2:18-cv-02217-SJO-FFM
15   STORMY DANIELS a.k.a. PEGGY
     PETERSON, an individual,                      DECLARATION OF MICHAEL J.
16                                                 AVENATTI IN SUPPORT OF
17               Plaintiff,                        PLAINTIFF’S MOTION FOR
                                                   EXPEDITED JURY TRIAL
18               vs.                               PURSUANT TO SECTION 4 OF THE
19                                                 FEDERAL ARBITRATION ACT,
     DONALD J. TRUMP a.k.a. DAVID                  AND FOR LIMITED EXPEDITED
20   DENNISON, an individual, ESSENTIAL            DISCOVERY
21   CONSULTANTS, LLC, a Delaware
     Limited Liability Company, MICHAEL            Hearing Date: April 30, 2018
22   COHEN, an individual, and DOES 1              Hearing Time: 10:00 a.m.
23   through 10, inclusive                         Location:     Courtroom 10C
24
                 Defendants.
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      DECLARATION OF MICHAEL J. AVENATTI IN SUPPORT OF PLAINTIFF’S MOTION FOR EXPEDITED
                                TRIAL SETTING AND DISCOVERY
Case 2:18-cv-02217-SJO-FFM Document 16-2 Filed 03/27/18 Page 2 of 30 Page ID #:185



 1                       DECLARATION OF MICHAEL J. AVENATTI
 2         I, MICHAEL J. AVENATTI, declare as follows:
 3         1.     I am an attorney duly admitted to practice before this Court. I am an
 4   attorney with the law firm of Avenatti & Associates, APC, counsel of record for
 5   Plaintiff Stephanie Clifford (“Plaintiff”). I am submitting this declaration in support of
 6   Plaintiff’s Motion for Expedited Discovery.         I have personal knowledge of the
 7   information stated herein and if called to testify to the same would and could do so.
 8         2.     Attached hereto as Exhibit A is true and correct copy of the CNN article
 9   titled “Michael Cohen Says He Used His Own Home Equity Line for Stormy Daniels
10   Payment,” obtained from the internet.
11         3.     Attached hereto as Exhibit B is true and correct copy of the March 19,
12   2018 Vanity Fair article titled “’I Have Never Threatened Her in Any Way’: Michael
13   Cohen Offers His Side of the Stormy Daniels Saga,” obtained from the internet.
14         4.     Attached hereto as Exhibit C is true and correct transcript of the March 26,
15   2018 press briefing by Deputy Press Secretary Raj Shah, obtained from the internet.
16         5.     Defendant Essential Consultants, LLC—without any notice to Plaintiff—
17   initiated an arbitration proceeding in Los Angeles before ADR Services and obtained a
18   temporary restraining order against my client on an ex parte basis (again, without any
19   notice to Plaintiff) purporting to restrict my client from speaking.
20         6.     On March 21, 2018, in accordance with Local Rule 7-3, the parties met and
21   conferred and thoroughly discussed the relief requested in this Motion. I participated in
22   the conference by telephone and another attorney from my office participated in person
23   at the office of counsel for defendant Essential Consultants, LLC. We discussed the
24   substantive grounds for the Motion and attempted to reach an accord that would
25   eliminate the need for this Motion. We provided citations to specific legal authority to
26   support our position. We advised counsel for Defendants that Plaintiff intended to seek
27   a jury trial in connection with the issue of whether an agreement was formed. We also
28   advised counsel for Defendants that Plaintiff sought limited discovery on an expedited
                                               -1-
       DECLARATION OF MICHAEL J. AVENATTI IN SUPPORT OF PLAINTIFF’S MOTION FOR EXPEDITED
                           TRIAL SETTING AND DISCOVERY DISCOVERY
Case 2:18-cv-02217-SJO-FFM Document 16-2 Filed 03/27/18 Page 3 of 30 Page ID #:186



 1   basis as follows: (1) a deposition of Mr. Trump of no greater than two (2) hours, (2) a
 2   deposition of Mr. Cohen of no greater than two (2) hours, and (3) no more than ten (10)
 3   targeted requests for production of documents directed to Mr. Trump and Mr. Cohen on
 4   various topics relating to the Agreement.      The parties, however, were unable to
 5   successfully resolve their dispute. According to counsel for both Defendants,
 6   Defendants’ position is that no discovery should be conducted in this case, and no trial
 7   should be set, because this case should be summarily ordered to arbitration.
 8         I declare, under penalty of perjury and under the laws of the United States of
 9   America, that the foregoing is true and correct. Executed on March 28, 2018.
10

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13                                                     /s/ Michael J. Avenatti
                                                  Michael J. Avenatti
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       DECLARATION OF MICHAEL J. AVENATTI IN SUPPORT OF PLAINTIFF’S MOTION FOR EXPEDITED
                                 TRIAL SETTING AND DISCOVERY
Case 2:18-cv-02217-SJO-FFM Document 16-2 Filed 03/27/18 Page 4 of 30 Page ID #:187




                                     Exhibit A
Case 2:18-cv-02217-SJO-FFM Document 16-2 Filed 03/27/18 Page 5 of 30 Page ID #:188



               Michael Cohen says he used his own home
               equity line for Stormy Daniels payment
              A         By Veronica Stracqualursi, ctm
              -         Updated 7:59 PM ET, Fri March 9, 2010




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                      Cohen: I used home                Po!ygraph. St0m1y          Storm7 De.mets· friend·   Stormy'~ la·,·,yer· some   Lawy
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              Washington (CNN)- President Donald Trump's personal lawyer used runds rrom his own home
              equity line to make a $130,000 payment to porn star Stormy Daniels on Trump's behalf. he told
              CNN.

              "The funds were taken from my home equity line and transrerred Internally to my LLC account in
              the same bank," Michael Cohen said in a statement.

              Cohen also confirmed that he used his Trump Organization email account to communicate
              details of a payment transfer to Stephanie Clifford. the adult ftlm star known as Stormy Daniels.
              who allegedly had an affair with the President before his Ume In office.

              Earlier Friday, Clifford's lawyer, Michael Avenattl, provided an email to CNN In which Cohen
              confirmed the transrer to Daniels' rormer attorney, Keith Davidson. In the email, both Cohen's
              personal email account and trumporg.com email account were used. The deposit was
              conftrmed to Cohen by a First Republic Bank employee.




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                              To: Michael Cohen <mcohrn1{uumpocg com>
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Case 2:18-cv-02217-SJO-FFM Document 16-2 Filed 03/27/18 Page 6 of 30 Page ID #:189

          Cohen responded later Friday, saying that he regularly used his business email account for
          personal matters.




          'I sent emails from the Trump Org email address to my family, friends as well as Trump business
          emails. I basically used it for everything. I am certain most people can relate," he said.

          Avenatti, speaking on MSNBC. said Cohen's use of his business email to conduct this transaction
          could be an indication that he was acting in an official capacity as a legal counsel to Trump
          when he transferred the money to Clifford.

          While this development brings the payment to Clifford closer to Trump himself, It is not proof that
          he knew about It. Any Involvement by Trump would indicate the payment was an in-kind
          campaign contribution which was not disclosed to the Federal Election Commission. which
          would be a violation of federal law, according to Paul S. Ryan, a campaign finance attorney who
          works for Common Cause.

          The email does not say where the funds originated from.

                                                           NBC News first reported Cohen's use of the email
                                                           account.

                                                           The day after the email, Cohen wired money from First
                                                           Republic Bank to Davidson's bank account, according
                                                           to NBC News.

                                                           Davidson did not respond to a request for comment
           Related Article: Law firm handling st~rmy
           Daniels case for COhen also did legal work      from CNN. First Republic Bank declined to comment to
           with Trump campaign                             the network.

                                                           Trump's 2017 financial disclosures listed an account at
          First Republic Bank. valued between $15,001 and $50,000.

          Cohen also regularly used that same email account to negotiate with Clifford last year before she
          signed a nondisclosure agreement, NBC News reported.

          Last month, Cohen said he wired Clifford $130,000 of his own money rtght before the 2016
          election in exchange for her silence about the alleged affair.

          Cohen said Friday that he is in the midst of a "witch hunt," saying, "These incessant attacks
          against me are meritless and are concocted by the liberal mainstream media to continue to
          malign our President and distract the country from his historic achievements over the past year.
          This witch hunt has now gone from ludicrous to Insane.'

          He has denied the Trump Organization's involvement in the payment. and both Cohen and the
          White House have denied any sexual encounter between the President and Clifford.

                                                           "In a private transaction in 2016, I used my own
                                                           personal funds to facilitate a payment of $130,000 to
                                                           Ms. Stephanie Clifford," Cohen said in a statement In
                                                           February. "Neither the Trump Organization nor the
                                                           Trump campaign was a party to the transaction with
                                                           Ms. Clifford, and neither reimbursed me for the
                                                           payment. either directly or indirectly."
           Related Article: Stormy Daniels' attorney


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                                                           favor" regarding the case. The statement Is an
          admission that the nondisclosure agreement exists and that it directly Involves Trump. It was the




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          first time the White House had admitted the President was involved in any way with Clifford.

          Clifford filed suit against Trump on Tuesday, alleging that he never signed a hush agreement
          regarding the alleged affair and therefore the agreement is void.
                                                                                                                          J    ··- --- ------        ~
          CNN's Wolf Blitzer contributed to this report.                                                             Now Pl aying Cohen: I used home ...
Case 2:18-cv-02217-SJO-FFM Document 16-2 Filed 03/27/18 Page 7 of 30 Page ID #:190




                                     Exhibit B
Case 2:18-cv-02217-SJO-FFM Document 16-2 Filed 03/27/18 Page 8 of 30 Page ID #:191
Case 2:18-cv-02217-SJO-FFM Document 16-2 Filed 03/27/18 Page 9 of 30 Page ID #:192
Case 2:18-cv-02217-SJO-FFM Document 16-2 Filed 03/27/18 Page 10 of 30 Page ID
                                  #:193
Case 2:18-cv-02217-SJO-FFM Document 16-2 Filed 03/27/18 Page 11 of 30 Page ID
                                  #:194
Case 2:18-cv-02217-SJO-FFM Document 16-2 Filed 03/27/18 Page 12 of 30 Page ID
                                  #:195
Case 2:18-cv-02217-SJO-FFM Document 16-2 Filed 03/27/18 Page 13 of 30 Page ID
                                  #:196
Case 2:18-cv-02217-SJO-FFM Document 16-2 Filed 03/27/18 Page 14 of 30 Page ID
                                  #:197
Case 2:18-cv-02217-SJO-FFM Document 16-2 Filed 03/27/18 Page 15 of 30 Page ID
                                  #:198
Case 2:18-cv-02217-SJO-FFM Document 16-2 Filed 03/27/18 Page 16 of 30 Page ID
                                  #:199
Case 2:18-cv-02217-SJO-FFM Document 16-2 Filed 03/27/18 Page 17 of 30 Page ID
                                  #:200
Case 2:18-cv-02217-SJO-FFM Document 16-2 Filed 03/27/18 Page 18 of 30 Page ID
                                  #:201
Case 2:18-cv-02217-SJO-FFM Document 16-2 Filed 03/27/18 Page 19 of 30 Page ID
                                  #:202




                                   Exhibit C
3/27/2018      Case 2:18-cv-02217-SJO-FFM
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           •   The Opioid Crisis




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3/27/2018   Case 2:18-cv-02217-SJO-FFM
                                     PressDocument         16-2
                                          Briefing by Principal     Filed
                                                                Deputy Press03/27/18       Page 21 of 30 Page ID
                                                                             Secretary Raj Shat,
                                                         #:204




  Press Briefings


  Press Briefing by Principal Deputy Press Secretary
  Raj Shah
  Issued on: March 26, 2018



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3/27/2018   Case 2:18-cv-02217-SJO-FFM
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  :::All News
  James S. Brady Press Briefing Room

  2:09 P.M. EDT

  MR. SHAH: Good afternoon, everyone. Let me start by saying that the United States is deeply saddened by the
  news of yesterday's tragic fire at a shopping mall in Siberia. The American peop le extend our deepest
  sympathies to the Russian people and the fa mi lies of those who lost their lives and were injured in the fire.

  Separately, as many of you saw, the President ordered the expulsion of dozens of Russian intelligence officers,
  and the closure of the Russian consulate in Seattle.

  This action is a response to Russia's use of a mi litary-grade chemical weapon in the U nited Kingdom, and was
  taken in conjunction w ith our allies and partners around the world, including more than a dozen countries in the
  EU and NATO, and others around the world .

  Today's actions make the United S tates safer by reducing Russ ia's ability to spy on Americans and to conduct
  covert operations and threaten America's national securi ty. With these steps, the U.S. and our a llies and partners
  around the world make clear to Russ ia that actions have consequences.

  We stand ready to cooperate to build a better relationship w ith Russia, but th is can only happen w ith a change in
  the Russian government's behavior.

  Looking ahead to next week, the President w ill welcome the leaders of Eston ia, Latvia, and Lithuania to the
  White House on April 3rd.

  President Trump and the three Baltic heads of state wi ll celebrate the I 00th anniversary of Estonia, Latvia, and
  Lithuania's independence and set the stage for another century of strong ties between our countries.

  The U.S.-Baltic Smnmit will focus on how best to strengthen our security, business, trade, energy, an d cultural
  partnerships. The visit will also highlight Baltic States' achievements since thei r independence, including their
  economi c growth, recent success in meeting NATO's defense and spendi ng pledges.

  A quick rem inder for everyone here, the annual Wh ite House Easter Egg Ro ll w il l take p lace on the South Lawn
  a week from today. We are inviting members of the White H ouse Press Co rps to bring yow- kids to the event.
  So please work with the Press O ffi ce to secure tickets, if you haven' t a lready.

  And w ith that, I' ll take your questions.

  Zeke.

  Q    Thanks, Raj . Thanks for doing thi s. F irst, on Thursday, White House officia ls were up on the stage and
  they said the Pres ident would sign the omnibus legislation. On Friday morning, he tlu·eatened to veto it.
  Ultimately, he signed it. Ten days ago, Sarah said that H.R. McMaster had the P resident's confi dence and
  support and wou ldn 't be leaving. Last Thursday, it was announced that he would be leaving the White House.
  And about two and a ha lf weeks ago, the Presiden t expressed confi dence in hi s attorneys. And then there was a
  bit of shake-up there last week. So can you ta lk - speak to the White House's credi bi lity, why should we, in
  this room, and mo re importantly, the American peop le, trust anything that this administration is telling them?



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3/27/2018   Case 2:18-cv-02217-SJO-FFM
                                     PressDocument        16-2
                                          Briefing by Principal    Filed
                                                                Deputy Press03/27/18       Page 23 of 30 Page ID
                                                                             Secretary Raj Shah
                                                         #:206
  MR. SHAH: Well, our job, as a press office and as an administration, is to give you the best information that we
  have available to us, the most accurate information in a timely fashion. Sometimes the dynamics are fluid in any
  given situation. You mentioned some personnel matters; facts and circumstances change. We continue to give
  you guys the best information that we can as quickly as possible.

  Q Thanks, Raj. One more for you just on the Stormy Daniels incident. I'm sure my colleagues have more
  questions on that. Could you state, categorically, that the President, his campaign, and the Trump Organization
  did not violate federal law - specifically, election law - regarding that payment?

  MR. SHAH: Well, I can speak for only the White House, and I can say, categorically, and obviously, the White
  House didn't engage in any wrongdoing. The campaign or Mr. Cohen -

  Q    (Inaudible.)

  MR. SHAH: Yeah. The campaign or Mr. Cohen can address anything with respect to their actions. With
  respect to that interview, I will say the President strongly, clearly, and has consistently denied these underlying
  claims. And the only person who's been inconsistent is the one making the claims.

  Phil.

  Q Yeah, Raj. Regarding the Russia actions that were announced earlier today, the President has not personally
  said anything about the expulsion of these 60 diplomats. And in his phone call last week with President Putin,
  he decided not to confront Putin on the attack despite the advice he was given from his national security
  advisors. And he went on to congratulate Putin on that phone call. So how do you square the aggressive actions
  that the administration is taking with an entirely different approach from the President?

  MR. SHAH: Well, I think there was a statement coming out from the Press Secretary on this. And the last
  sentence basically outlined our approach to this, which is our relationship with Russia is, frankly, up to the
  Russian government and up to Vladimir Putin and others in senior leadership in Russia.

  We want to have a cooperative relationship. The President wants to work with Russia, but their actions
  sometimes don't allow that to happen.

  The poisoning in the UK that has kind of led to today's announcement was a very brazen action. It was a
  reckless action. It endangered not just two individuals who were poisoned, but many civilians - many innocent
  civilians. And this is not the type of conduct that the United States or allies can accept. But the President still
  remains open to working with the Russians on areas of mutual concern - counterterrorism, for example, and
  others. But, you know, that's really up to the Russians to decide.

  Q But if the President believes it was a reckless and brazen action, why did he not say so to Putin, directly,
  when he spoke with him and had the opportunity to do that?

  MR. SHAH: Well, he raised a number of issues and we did secure with Putin, on that call, some positive
  interaction when it comes to nuclear arms. So there were certainly positive developments on that call, and the
  President will continue diplomacy with Russia and with Putin. But, you know, this action by the President is
  very clear. We're very heartened that it comes in conjunction with over a dozen allies, both in NATO and EU.

  Kevin.

  Q Thank you, Raj. You mentioned that it was brazen and that it was reckless. Does that attack on the soil of a
  valued ally rise to the level of an act of war? Is that the administration's policy, here?

  MR. SHAH: Well, we've been joined at the hip with the UK on this matter. We stand firmly with our ally.
  Again, I'll classify this action as both brazen and reckless. And I don't want to get ahead of anything the
  President may or may not announce or declare later on.

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     Case 2:18-cv-02217-SJO-FFM
3/27/2018                             PressDocument         16-2
                                            Briefing by Principal    Filed
                                                                  Deputy Press03/27/18       Page 24 of 30 Page ID
                                                                               Secretary Raj Shah
                                                           #:207
  Q And if I could follow up very quickly -

  MR. SHAH: Yeah.

  Q You mentioned that the President continues to maintain his consistent story that he did not do what has been
  alleged by Ms. Daniels. Did he, by chance, watch the interview last night? Did you ask him about that?

  MR. SHAH: You know, I'm not going to get into what the President may or may not have seen. I'll just say that
  he's consistently denied these allegations.

  Kristen.

  Q Thank you. Was the President aware of a physical threat made against Ms. Daniels when she was with her
  daughter back in 2011?

  MR. SHAH: Well, the President doesn't believe that any of the claims that Ms. Daniels made last night in the
  interview are accurate.

  Q    He doesn't believe she was threatened?

  MR. SHAH: No, he does not.

  Q What's his basis for that, Raj?

  MR.SHAH:Sorry?

  Q    What's his basis for that?

  MR. SHAH: Well, he just doesn't believe that-you know, there's nothing to corroborate her claim.

  Q And Raj, did he have dinner with Michael Cohen at Mar-a-Lago on Saturday?

  MR. SHAH: Yeah, I believe he did.

  Q Can you give us a readout of that? Did they discuss the interview with Stormy Daniels?

  MR. SHAH: I don't have any additional information on it.

  Cecilia.

  Q So ifhe doesn't believe her claims made in that TV interview, we can deduce he saw it from that?

  MR. SHAH: Well, I'm-again, I'm not going to get into what he saw. There are clips of it playing all over in
  the morning new shows. What I'll just say is that he's denied the accusations that she made last night and has
  been consistent in doing so. She has not.

  Q So on the expulsions, three weeks passed between the attacks and the expulsions. What took so long?

  MR. SHAH: Well, I mean, actions like this take time and we coordinated with, again, over a dozen allies. We
  wanted this to be a joint effort in which the United States is joining both the European Union and NATO Allies.

  Q And a spokeswoman for the Russian Foreign Minister is now threatening retaliation against the U.S. and
  other countries involved in these expulsions. Your response to that?

  MR. SHAH: Look, we want to work with Russia, but this type of an action cannot be tolerated. The United
  States is responding to Russia's action- as I called it, brazen and reckless. So this is a U.S. response. We want

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3/27/2018   Case 2:18-cv-02217-SJO-FFM
                                     PressDocument        16-2
                                          Briefing by Principal    Filed
                                                                Deputy Press03/27/18       Page 25 of 30 Page ID
                                                                             Secretary Raj Shah
                                                         #:208
  to work with Russia. You know, the ball is in their court with respect to how they want to respond.

  Jim.

  Q If you listen to national security experts, diplomatic experts on what happened with Russia, they will say
  that you have to hit Russia where it hurts. You have to sanction them. Economically, you have to go after
  Putin's cronies. You have to go after Putin himself, potentially. Would this President consider sanctioning
  Vladimir Putin or his cronies to punish him and the Russian government for what happened in the UK and also
  for meddling in the 2016 election?

  MR. SHAH: Well, the United States has issued sanctions on key Russian oligarchs in response to the meddling
  in the 2016 election.

  Q      What about Putin himself?

  MR. SHAH: So, I wouldn't close any doors or I wouldn't preclude any potential action. But the President
  doesn't telegraph his moves.

  Q And one other question about this weekend: There was this massive march here in Washington, led by the
  students from Parkland, Florida. The President did not tweet about it, he hasn't really said anything about this.
  What is the White House response to this? And are the actions of the President signed into law last week
  strengthening some of the, I guess, background check systems and whatnot we have in this country? Is that the
  end of it? Is the President going to do any more on the gun safety issue? And what about that question that he
  asked of the Republican lawmakers here - "Are you afraid of the NRA?"

  MR. SHAH: Look, the President does respect everyone's First Amendment right and wants their voices to be
  heard. As you mentioned, there were actions that he signed into law on Friday in the omnibus bill. They
  included over $2 billion in new funding for school safety. He signed into law the STOP School Violence Act
  which was, actually, a priority of the Sandy Hook Promise Organization; and the Fix NICS bill, the background
  check portion that you mentioned.

  Also on Friday, the Department of Justice announced a new rule which effectively banned the sale of bump
  stock devices. And the President is a strong believer in the Second Amendment, but he does believe other
  measures could potentially be taken both at the federal and also at the state level to improve school safety. He's
  mentioned hardening schools. He's talked about these extreme risk protective orders that states can engage in.
  So there's a whole lot of things that can be done.

  This Wednesday, the School Safety Commission that is chaired by Secretary De Vos will be meeting for the first
  time, and we hope some fruitful ideas can come from that.

  Mike.

  Q Can you talk a little bit about David Shulkin? Is he going to be fired face-to-face or is it going to be through
  the media, on Twitter? Can you give us an update on that?

  MR. SHAH: I have no personnel announcements to make at this time.

  Steven.

  Q Raj, just to follow up on Stormy Daniels. Can you explain, Raj, why it has been the President's practice, or
  the practice of those associated with the President, to offer compensation to people to keep them silent? Why
  would the President do that? And why has he done that or caused others to do that?

  MR. SHAH: Well, I would have Michael - you can have Michael Cohen address any specifics regarding this
  agreement that you're referring to. But, look, false charges are settled out of court all the time, and this is
  nothing outside the ordinary.
https://www.whitehouse.gov/briefings-statements/press-briefing-principal-deputy-press-secretary-raj-shah-03262018/    6/11
3/27/2018Case 2:18-cv-02217-SJO-FFM      PressDocument        16-2
                                              Briefing by Principal     Filed
                                                                    Deputy Press03/27/18       Page 26 of 30 Page ID
                                                                                 Secretary Raj Shah
                                                             #:209
  Q But why would, in this case, $130,000 be paid to a woman in the days before the election? You're saying
  that she made false claims, but why, then, would $130,000 be paid to her?

  MR. SHAH: Again, false charges are settled out of court all the time. You'd have to ask Michael Cohen about
  the specifics.

  Q Does the President have any intention of responding directly himself? You've said that he denies the
  claims. Why haven't we heard from him?

  MR. SHAH: Well, that will be up to the President.

  Jen.

  Q Thanks, Raj. On North Korea, Bloomberg has reported that Kim Jong-un is in China right now. Does the
  White House see that as a precursor to talks between President Trump and Kim Jong-un? And has China offered
  to host that summit?

  MR. SHAH: Well, you know, we can't confirm those reports. We don't know if they're necessarily true. What
  I'll just state, though, is that, you know, where we are with North Korea is in a better place than we used to be
  because the President's maximum pressure campaign, in conjunction with dozens of countries around the world,
  has paid dividends and has brought the North Koreans to the table. So we're looking forward to a potential
  summit some months in advance.

  Q On Shulkin, does the White House believe that the nation's veterans are best served by having David
  Shulkin serve as VA Secreatry?

  MR. SHAH: Again, I have no personnel announcements to make at this time when it comes to -

  Q      How much longer should the Secretary expect to work in the administration?

  MR. SHAH: Sorry, say that again.

  Q      How much longer should the Secretary expect to work in the administration?

  MR. SHAH: Guys, I have no personnel announcements.

  Yeah.

  Q Thanks, Raj. The Israeli press is reporting that Prime Minister Netanyahu has begun informing French and
  German foreign ministers that the U.S. is very likely to pull out of the Iran deal in May. Can you confirm that?

  MR. SHAH: Well, I can't confirm that. What I can tell you is that the President has been pretty clear since
  January, where he gave some remarks about this, what he thinks of the Iran deal. In fact, that goes back years.
  He thinks it's one of the worst agreements the United States has ever made internationally, and he is insistent on
  changes both at the congressional level working with Congress, and also with our European partners. If changes
  aren't made, the President is prepared to potentially withdraw from the agreement.

  Jon.

  Q Thanks a lot, Raj. In light of these announced expulsions of these 60 Russian intelligence agents, is the
  President still going full steam ahead in meeting with Russian President Vladimir Putin?

  MR. SHAH: Again, we have no announcements on a potential meeting or any kind of summit.

  Q      But you still want to do it, right?

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3/27/2018   Case 2:18-cv-02217-SJO-FFM
                                     PressDocument        16-2Deputy
                                          Briefing by Principal  Filed
                                                                     Press03/27/18       Page 27 of 30 Page ID
                                                                           Secretary Raj Shah
                                                         #:210
  MR. SHAH: Yeah. Again, as I said, we want to work with Russia. We have areas of mutual concern where we
  can work with them. Again, I mentioned counterterrorism. There's general global stability and other matters
  where we can-we want to work with Russia. But that ball is in their court. It is up to them on whether we're
  going to have a fruitful and constructive relationship or an adversarial relationship.

  Q But why give that gift of meeting with the President after they've done what the U.S. not just alleges - say
  they have done? They've poisoned a former Russian spy on British soil, and you've punished them for it. Why,
  at this point, also give them this gift of meeting with the President of the United States?

  MR. SHAH: Well, again, there's no meeting to announce.

  Jordan.

  Q Thanks, Raj. Treasury Secretary Mnuchin said this weekend that there might be some kind of workaround
  for a Supreme Court ruling that said line-item vetoes are unconstitutional. What is that workaround, and is that
  something that the White House is aggressively pursuing and is going to propose that Congress take care of?

  MR. SHAH: Well, the President outlined on Friday why he was very frustrated with the legislation that he was
  given. It was a massive spending bill handed to him at the eleventh hour. You know, spending by Congress
  hasn't really been executed properly since 1996. They haven't had individual spending bills for over two
  decades.

  And so this omnibus process, the President wants to reform. He's talked about ending the filibuster. He's talked
  about a line-item veto. Obviously, it has to pass constitutional muster - anything that's passed. But he wants
  to fix the budget process. And, you know, his message to leaders in Congress of both parties is that if something
  similar happens again, he's much more inclined to veto it.

  Q On the line-item veto in particular, though, have you been able to find a workaround to that Supreme Court
  ruling that says it's unconstitutional?

  MR. SHAH: Well, there are certain things being discussed with respect to House and Senate rules. I don't want
  to get ahead of anything that we may come out in favor of.

  John.

  Q Yeah. Thank you, Raj. Two questions. First, last week Senator Barrasso, the Republican Whip, made a
  very strong speech in which he denounced, as Marc Short did, the necessity to use cloture on all appointments,
  and he called for a new agreement similar to the bipartisan agreement Senator Schumer had with Republicans in
  2013, allowing several votes on a nomination to come up and not requiring the cloture so much. Have you
  talked to Senator Barrasso about this, or has the President talked to him? And is that something the
  administration endorses?

  MR. SHAH: Well, I'm not aware of a White House conversation with Senator Barrasso. I hav~n't spoken to
  him. You know, I would generally agree with the concept. But having not seen all the details, I don't want to
  commit to it.

  Q The other thing is that Egypt is having an election this week, and all signs are President Al Sisi will be
  reelected without much opposition. Does the President plan to call him?

  MR. SHAH: I don't have any call plans to read out to you.
  Trey.

  Q Thanks, Raj. The President spoke with Russian President Vladimir Putin last week. Today, we saw this
  major action by the United States to expel these 60 diplomats and, additionally, close the consulate in Seattle.

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3/27/2018   Case 2:18-cv-02217-SJO-FFM
                                     PressDocument        16-2Deputy
                                          Briefing by Principal  Filed
                                                                     Press03/27/18       Page 28 of 30 Page ID
                                                                           Secretary Raj Shah
                                                         #:211
  Why did the President not bring up this poisoning of a former Russian spy with President Putin when he spoke
  with him on the phone?

  MR. SHAH: Well, as I mentioned earlier, the President did discuss a range of issues with Vladimir Putin. But,
  you know, he's addressed this matter publicly and repeatedly addressed it. After he spoke with Prime Minister
  May, he addressed it in the quad statement, and, you know, with this action right now.

  So the President has made his position and the country's position pretty clear.

  Q And if I could ask you about Shulkin. I'm not looking for a personnel announcement here; I'd simply like
  to ask you, how would you describe the relationship between President Trump and VA Secretary Shulkin?

  MR. SHAH: Well, I haven't asked the President about it directly, today. So I don't want to comment on it too
  specifically.

  Q Thanks very much, Raj. You said earlier that the only person who's been inconsistent is the one making
  these claims, meaning Stormy Daniels. What has she said that's inconsistent?

  MR. SHAH: Well, my understanding is that she signed some statements that conflict with what she said last
  night.

  Last question.

  Q Thanks, Raj. There have a been cascade of expulsion announcements from around the globe today. I think
  some 130 diplomats across 18 countries. What was the U.S. role in this? And can you tell us a little bit more
  about the President's role in what looks like a pretty coordinated effort?

  MR. SHAH: Yeah. Well, this was a coordinated effort, and the President spoke with many foreign leaders-
  our European allies and others - and encouraged them to join the United States in this announcement.

  We think that this is not just an important message to send to the Russian government, but it's also significant in
  degrading their intelligence capabilities around the world, not just in the United States.

  Q Raj, the President has come out strongly about the importance that law enforcement plays in this country.
  Has he commented at all about the shooting death of Stephon Clark? He was unarmed, shot by a police officer.
  A lot of protests happening across the country as a result.

  MR. SHAH: I'm not aware of any comments that he has. I haven't asked him about that directly. Obviously,
  the President cares about any individual who would be harmed through no fault of their own. I don't know the
  specifics in that case, and I don't want to comment any further.

  All right. Thanks, folks.

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3/27/2018   Case 2:18-cv-02217-SJO-FFM
                                     PressDocument        16-2
                                          Briefing by Principal    Filed
                                                                Deputy Press03/27/18       Page 29 of 30 Page ID
                                                                             Secretary Raj Shah
                                                         #:212
       • Get Involved
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       • Privacy Policy

       •    Twitter
       •    Facebook
       •    Instagram
       •    Contact




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3/27/2018   Case 2:18-cv-02217-SJO-FFM
                                     PressDocument        16-2
                                          Briefing by Principa      Filed
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                                                                              Secretary Raj Shah
                                                         #:213




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